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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

    UNITED STATES OF AMERICA

        v.                                            Case No. 21-cr-117 (RCL)

    RYAN TAYLOR NICHOLS,

             Defendant.

                     GOVERNMENT’S SENTENCING MEMORANDUM

        The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully submits this sentencing memorandum in connection with

the above-captioned matter. For the reasons set forth herein, the government requests that this

Court vary upwards to sentence Ryan Taylor Nichols to 83 months’ incarceration, 3 years of

supervised release, restitution in the amount of $2,000, a fine, and a special assessment of $100

per felony count of conviction.

I.      INTRODUCTION

        The defendant, Ryan Nichols, participated in the January 6, 2021, attack on the United

States Capitol—a violent attack that forced an interruption of the certification of the 2020 Electoral

College vote count, threatened the peaceful transfer of power after the 2020 Presidential election,

injured more than one hundred police officers, and resulted in more than $2.9 million in losses. 1



1
  As of July 7, 2023, the approximate losses suffered as a result of the siege at the United States
Capitol was $2,923,080.05. That amount reflects, among other things, damage to the United States
Capitol building and grounds and certain costs borne by the United States Capitol Police. The
Metropolitan Police Department (“MPD”) also suffered losses as a result of January 6, 2021, and
is also a victim. MPD recently submitted a total of approximately $629,056 in restitution amounts,
but the government has not yet included this number in our overall restitution summary ($2.9
million) as reflected in this memorandum. However, in consultation with individual MPD victim
officers, the government has sought restitution based on a case-by-case evaluation.



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       Nichols, a business owner and former Marine, planned for “actual battle” in his

preparations leading up to January 6, 2021. He proclaimed on Facebook that “we’re bringing the

wrath of God, and there’s not a FUCKING thing you can do to stop it,” “If Pence doesn’t do the

right thing, WE FIGHT,” and other similar messages and postings. He followed through on his

claims by gathering weapons, and other supplies, as well as recruiting his friend, and now co-

defendant, Alex Harkrider to join him.

       On January 6, Nichols wore a ballistic plate in a plate carrier and other tactical gear and

armed himself with a crowbar. On his march to the Capitol, Nichols unleashed a profanity laden

tirade against Vice President Mike Pence and others after learning that the Vice President had not

agreed to block the certification of the Electoral College vote: “I’m telling you if Pence caved,

we’re gonna drag motherfuckers through the streets. You fucking politicians are going to get

fucking drug through the streets.” He witnessed horrific violence against officers by other rioters,

but still personally engaged in violence at the Capitol: he pushed with the crowd against officers

in the tunnel in front of the Lower West Terrace Doors and Nichols hit multiple officers in the

tunnel with two streams of OC spray using a stolen MPD cannister. He also entered and exited the

Capitol through a broken window and instructed the crowd through a bullhorn to get their weapons

to prepare for sustained, armed resistance against the police and military officials who were

coming to secure the Capitol.

       The evening of January 6, Nichols posted a video of himself in his hotel room stating, “I’m

calling for violence! And I will be violent!” He ended the video by stating, “I will fucking die for

this. But before I do that, I plan on making other people die first, for their country, if it gets down

to that.” When Nichols returned home, he burned the clothing he wore to the Capitol, deleted




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evidence from his cell phone and social media, and instructed his co-defendant Harkrider to delete

messages.

       The government recommends that the Court sentence Nichols to 83 months of

incarceration. An 83-month sentence reflects the gravity of Nichols’ violent conduct and his

consistently violent rhetoric before, during, and after January 6.

II.    FACTUAL BACKGROUND

       A.       The January 6, 2021, Attack on the Capitol

       The government refers the court to the stipulated Statement of Offense filed in this case,

ECF 280, for a short summary of the January 6, 2021, attack on the United States Capitol by

hundreds of rioters, in an effort to disrupt the peaceful transfer of power after the November 3,

2020, presidential election.

       B.       Nichols’ Role in the January 6, 2021, Attack on the Capitol

                Calling for Violence in the Wake of the 2020 Presidential Election

       In Facebook posts following the 2020 Presidential election, Nichols repeatedly claimed

that the election was fraudulent, called for “war” against his fellow citizens, described those who

voted for President Biden as “true traitor[s] to the country,” and announced his intention to be in

D.C. on January 6th to “FIGHT” if Vice President Pence did not block the certification of the

Electoral College vote.

       •     Excerpt from December 12, 2020, messages: “If peaceful courtrooms won’t hear the
             case, then it’s time for American people to decide how important their country is to
             them being run by the right people. The time has come to start thinking about TAKING
             the country back, and pushing out anyone BY FORCE who doesn’t want what’s best
             for this country.”

       •     Excerpt from December 14, 2020: “I’ve had hating ass people all weekend to shame
             me for feeling patriotic and taking a stand against the domestic terrorism I currently
             plaguing our country. […] So just because you got ‘voted’ in (with Dominion voting
             software �) doesn’t mean we’re going to listen or follow a fucking thing you say. We
             aren’t shutting down. We aren’t going to back down. We aren’t giving up the 2nd


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      amendment. We WILL be heard. If you won’t hear us in court peacefully, then you’ll
      hear us in the streets non-peacefully. The patriots are giving you a chance (government)
      to do it correctly. If you don’t we will do it ourselves.”

•     On December 24, 2020, Nichols posted the following messages and image:

         o “Any Democrat found guilty of treason should be executed.. Any Republican
           found guilty of treason should be VIOLENTLY executed!”

         o “It’ll be fixed January 6th, or the Patriots will fix it ourselves.. When the Patriots
           move to fix it, we’re bringing the wrath of God, and there’s not a FUCKING
           thing you can do to stop it.”

         o




•     December 28, 2020: “Patriots about to show their WAR face within 7-10 days”

•     December 28, 2020: “The time for games is OVER.. Patriots will be in Washington DC on
      Jan 6th! If Pence doesn’t do the right thing, WE FIGHT”

•     December 30, 2020: “On Jan 6th, the Patriots of this country will have a decision to make..
      Mine has already been made.. What is yours?”




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                             Planning for Violence on January 6, 2021

       Text messages between Nichols and his co-defendant, Alex Harkrider, reveal Nichols was

planning for violence on January 6, 2021, and recruiting Harkrider to join him. On December 12,

2020, Nichols wrote to Harkrider: “The time is coming . . . we, as patriots, may have to take back

the country by force.” On December 27, 2020, Nichols wrote “Are you ready bro? 1775 is about

to go down in this bitch […]” and “We’ve got front seat tickets to the REAL revolution[.]”

       On January 1, 2021, Nichols sent Harkrider an image and a hyperlink to body armor with

pricing information. He sent several text messages including, “We’re going to need first aid kits

and tourniquets,”; “I need to speak with you in person”; “Everything is ok. Just need to gameplan

lol”; “We need to speak in person lol”; “what I’m about to relay can’t be done over the phone.”

       On January 3, 2021, they continued their planning:

       Nichols: Dad and I are building a gun container in the truck today
       Nichols: Just know I have intel that Washington will be a warzone
       Nichols: Big possibility that actual battle goes down
       Harkrider: I’m looking forward to it
       Nichols: I know how to get guns legally into DC now
       Nichols: It’s called transporting
       Harkrider: I’ll bring every freedom blaster I own then
       Harkrider: We’re stopping in Kentucky on the way for those plate carrier too right?
       Nichols: Do you have any 10 round mags for an AR?
       Harkrider: I do not
       Nichols: Damn. I’d rather go with those so it’s fully legal. 30 round mags are not
       Harkrider: Surely we can find some

Nichols and Harkrider each brought two firearms with them on their trip, transporting them in a

box that Nichols and another individual specifically constructed in the back of Nichols’ truck for

the trip and transport to Washington, D.C.




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           Confronting Law Enforcement in Washington, D.C. on January 5, 2021

       On the evening of January 5, 2021, Nichols and Harkrider joined a large group near the

White House in downtown Washington, D.C., and Nichols recorded the events on a GoPro camera.

See Exhibit A. Videos recorded by Nichols and others show Nichols in a large crowd that evening,

saying, “[C]ops don’t know what’s going on. Too many of us, not enough of them,” id. at 00:10-

18, and then a short time later yelling out to another rioter, “Those people in fucking Capitol

building are our enemy,” id. at 00:59-END. Shortly thereafter Nichols, Harkrider, and others

confronted MPD officers, and it appears Nichols yelled at least three times, “You can’t stop what’s

coming tomorrow!” Exhibit B at 00:29-46. The MPD officers ordered the crowd, including

Nichols, to stay back, but they did not comply and eventually the officers released crowd control

spray. Nichols then yelled at the officers, “Hey you all start spraying me, I’m going to start

whooping ass around here.” Id. at 01:20. Shortly thereafter, Nichols was captured on video yelling

at the MPD officers:

       Now you lost everybody on both sides.…. Because you don’t want to fucking
       protect the Constitution. So you lost both sides of support. We had your fucking
       back, but we ain’t got your back no more! We’re the business owners! We’re the
       veterans! ... We had your back! But we ain’t got your back no more! ...Because you
       don’t got our back! So we had your back until you didn’t have ours! And so now
       you don’t have ours! So now, I’m a Marine and we got other Marines around here!
       We ain’t got your back no more! You better have our back and you better have our
       back or we’re gonna fucking show you! Heads will fucking roll! We will not be
       told ‘no’ any longer!

Exhibit C at 0:36-1:30.

           Threatening Tirade on the March to the U.S. Capitol on January 6, 2021

       On the morning of January 6, 2021, Nichols outfitted himself with tactical gear. He wore

a camouflage Marine Corps boonie hat, body armor consisting of a carrier with a ballistic plate,

distinctive yellow-leather gloves, and steel-toed boots. He also carried a crowbar and a walkie-




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talkie radio. The photograph of Harkrider and himself that he posted to Facebook shows how he

was dressed at the beginning of the day:




              Image 1: Nichols, left, in photo with Harkrider, right, the morning of January 6, 2021.

        While attending the rally, Nichols posted an image of another rally attendee’s sign to

Facebook which contained the implicit threat of violence of a coming “second revolution.” See

Image 2.




Image 2: Nichols post from the “Stop the Steal” rally of another attendee’s sign, which he echoed with own caption.


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       After listening to the speeches at the Ellipse, at approximately 1:40 p.m., Nichols

livestreamed his and others’ march to the Capitol on Facebook. See Exhibit D.




                 Image 3: Screenshot from Exhibit D at 07:53: Harkrider, to left and behind,
                         with Nichols, center, marching with crowd to the Capitol.

       As he marched, Nichols unleashed an eighteen-minute, expletive-laden, threatening tirade,

stating, among other things:

   •   “I’m hearing reports that Pence caved. I’m telling you if Pence caved, we’re gonna drag
       motherfuckers through the streets. You fucking politicians are going to get fucking drug
       through the streets. Because we’re not going to have our fucking shit stolen. We’re not
       going to have our election or our country stolen… Because it’s the second fucking
       revolution and we’re fucking done. I’m telling you right now, Ryan Nichols said it... You
       think we patriots are here for no reason? You think we came just to fucking watch you run
       over us? No. No. You want to take it from us, motherfucker we’ll take it back from you.”

   •   “So we’re going to fucking fight and we’re going to take back what is ours. And if you are
       patriot, then get on board and if you’re not then get the fuck out of my way, because I’ll
       drag your fucking ass through the street. You want it? You fucking got it. So let me find
       out Pence let me find out myself that you treasoned the country, we’ll fucking drag your
       ass too.”

   •   “We ain’t taking it no more. So you want to take it from us, well we’re here to take it back
       from you.” At this point, Harkrider yells, “Cut their freaking heads off … You can do it.”
       Nichols agrees yelling, “Cut their heads off. Hey Republican protestors are trying to enter
       the House right now at the Capitol is the word that I’m getting. So, if that’s true, then get
       up in there. If you voted for treason, we’re going to drag your ass through the streets.”




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   •   A woman chimes in, “We’re really nice people actually.” Nichols promptly corrects her:
       “We’re nice people but when you treason our country, we’ll drag your ass. They’re not
       veterans, we are. She’s not a fighter, I am. Everybody here ain’t here to fight. I am.”

   •   Nichols chants, “Lock and load, lock and load, lock and load.”

   •   “Know that Ryan and Alex are here in Washington, D.C., marching on the Capitol,
       apparently Pence just caved and if Pence caved we’re going to fucking take it back, because
       we’re not going to let it be stolen. So we’re up here fighting.”

                               Violent Conduct at the U.S. Capitol

       Nichols approached the Capitol Building through the West Front, one of the most violent

and chaotic areas during the riot where rioters clashed directly with police, the police were forced

to retreat up on to the Lower West Terrace and into an area known as the tunnel. Inside of that

tunnel, one of the most prolonged and violent confrontations between rioters and police took place.

       Once on Capitol grounds, Nichols marched up to the Lower West Terrace and toward the

tunnel. Rioters inside and outside of the tunnel on the Lower West Terrace continued to attack law

enforcement, pulling away protective shields, assaulting officers with improvised weapons and

chemical spray, and throwing projectiles at officers. At 3:18 p.m., shortly after Nichols arrived on

the Lower West Terrace, MPD Officer Michael Fanone was pulled from the tunnel and viciously

assaulted by the mob, including being tasered, within feet and in the direct line of sight of Nichols.

In spite of seeing this violent assault and knowing the very real dangers that officers in the tunnel

were in, Nichols and Harkrider marched up the stairs towards the tunnel, lowered their heads and

shoulders, and joined the mob, heaving against the line of officers in synchronized movements

such that the officers in the tunnel had to resist the entire weight of the mob pushing against them

at once. See Image 4. The officers in the tunnel, despite the overwhelming numbers of the mob—

were able to push the rioters—including Nichols, back down the stairs.




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                       Image 4: Nichols, circled in yellow in bottom right corner, and
                   Harkrider, indicated by red arrow pushing against officers in the tunnel.

       Yet, despite being repelled once, Nichols was undeterred in his resolve to breach the

Capitol and stop the certification process. At approximately 4:02 p.m., Nichols pushed his way

back toward the police line, standing immediately in front of the law enforcement line guarding

the tunnel entrance and waving the mob forward toward police. Nichols signaled to another rioter

to pass him a large canister of chemical spray that rioters had stolen from MPD officers. See

Exhibit E. Nichols grabbed the canister and positioned it over the officers’ riot shields.




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                   Image 5: Screenshot from Exhibit E at 00:27: Nichols spraying officers.

       Nichols, moving the spray cannister left to right to maximize the number of officers he

struck, then dispersed the spray twice onto the crowd of officers, including Officer I.D. See

Exhibit F (side-by-side comparison with video in Exhibit E and view from inside the tunnel). At

the moment that Nichols sprayed Officer I.D. and the other officers in the tunnel, they were

sustaining the latest synchronized push from the rioters and were actively under physical assault

from other rioters. Nichols’ aerial chemical assault was intended to impede the officers’ ability to

resist the mobs’ collective assaults against them, thus allowing the rioters to overrun them and

permit thousands of rioters to pour into the building through the tunnel. After assaulting the officers

with the OC spray, Nichols remained near the front line of rioters for several minutes as other

rioters swung and stomped at the officers.

       Between approximately 4:10 and 4:15 p.m., Nichols watched as rioters broke a small

window near the tunnel that they used to breach room ST-2M. He joined them and was one of the




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first rioters that climbed through the broken window. Shortly thereafter, Nichols crawled to the

edge of a window near the tunnel, crowbar in hand, and yelled to the crowd through a bullhorn.




                     Image 5: Nichols, center, holding a crowbar in his right hand and
                     bullhorn in his left hand on ledge of window outside Room ST-2M.

       Waving his crowbar, Nichols yelled, repeatedly, among other things: “Get in the building!

Get in the building! This is your country… We will not be told no! ...Get in there!”; “This is the

second revolution right here folks!”; and “This is not a peaceful protest!” Nichols next excoriations

to the crowd were—considering that Nichols and Harkrider had a cache of weapons stored across

the river at their hotel in Virginia—most ominous: “If you have a weapon, you need to get your

weapon! If you have a weapon, you need to get your weapon[.]” and “If you are prepared to fight,

you need to get your weapon!” See Exhibit G.

       At approximately 4:39 p.m., Nichols was captured on video standing on a ledge above the

tunnel, crowbar in hand, motioning the crowd toward the Capitol and yelling “This is our country!

This is our country!” Exhibit H at 00:35-00:45.




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                         Image 6: Screenshot from Exhibit H at 00:38: Nichols, center,
                      holding a crowbar above his head while shouting to crowd on ledge.

       Exhibiting pride in his conduct in Washington, throughout the day on January 6, Nichols

documented his conduct on social media:




Image 7: Nichols celebrates his breach of the secure perimeter with Facebook post saying “We’re in” followed by
 two American flag emojis, a photo on a ledge with a crowd of rioters behind him, and a photo with Harkrider in
                                           front of the Capitol building.




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           Image 8: Nichols post with Harkrider from the Lower West Terrace in which he states that
                          he “is [..] feeling pissed off” and threatening civil unrest.

                           Calls for Further Violence Following the Riot

       In the waning hours of January 6, 2021, Nichols took to social media to call for more

violence, proclaim himself a leader of the “revolution,” and to ask others to join him in further violent

resistance against the elected government of the United States. At 8:13 pm on January 6, 2021,

Nichols posted a nearly 11-minute video to Facebook, titled “Are Patriots Calling For Violence?

Why Weren’t You Here? WE HAVE TO TALK!” See Image 9; see also Exhibit I.




              Image 9: Screenshot from Exhibit I at 09:34: Nichols’ evening Facebook livestream.


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        In this video, which he livestreamed from his hotel room, Nichols recounted the day, his

criminal conduct, and his desire for further violence:

    •   “Pence did the wrong thing and allowed them to continue with the vote. So we stormed the
        Capitol building, and they stopped the vote. And they went down into the tunnels and hid,
        like the fucking cowards that they are. Instead of coming out there and addressing ‘we the
        people’ they ran. Because they knew they were doing the wrong thing. So we clashed with
        Capitol Police.”

    •   “So if you want to know where Ryan Nichols stands, Ryan Nichols stands for violence!”

    •   “Ryan Nichols is done allowing his country to be stolen and I understand that the first
        revolutionary war folks, it was violent. We had to be violent and take our country back.
        Well guess what? The second revolutionary war. Right now, the American revolutionary
        war that’s going on right now. It started today.”

    •   “It’s going to be violent. And yes, if you are asking is Ryan Nichols going to bring
        violence? Yes, Ryan Nichols is going to bring violence.”

    •   “And if you’re looking for a leader, I’ll be your leader! If you’re looking for guidance in
        this second American revolution, I will be your leader! Come seek me out. I will tell you
        where I’m going to be, what I’m going to be doing, Alex will be doing it, we will be with
        other veterans, other patriots, and we’re here to take this country back.”

    •   “So, yes, I’m calling for violence! And I will be violent! Because I’ve been peaceful and
        my voice hasn’t been heard! I’ve been peaceful and my vote doesn’t count! I’ve been
        peaceful and the Courts won’t hear me. So you’re fucking right, I’m going to be violent
        now! And I’m here in Washington, D.C. and it just got started. We shut down the vote
        today, because those coward ass politicians ran into the tunnels when we stormed the
        Capitol. I was inside the Capitol today. I was in the Capitol Building. I’ve got pictures from
        insides and videos from inside the Capitol Building.” 2”




    •   “I’ve seen the last of you treasonous, bastard, elected politicians, stealing our country! So
        I don’t care if I have to die for it. Give me liberty or give me death! But I’m prepared to
        fucking die for this! I took a constitutional oath, to uphold for the United States and its
        people, for all enemies, foreign and domestic. So help me god. I will fucking die for this.
        But before I do that, I plan on making other people die first, for their country, if it gets
        down to that.”




2
  Nichols apparently deleted this evidence, as he also deleted text messages with and his co-
defendant, wife, and father.



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   •   “So, yes today. Ryan Nichols. Ryan Nichols grabbed his fucking weapons [holds up and
       waves crowbar] and he stormed the Capitol and he fought for freedom! For [unintelligible]
       election integrity. I fought. I stormed up there against police and I pushed them back.”

       Nichols’ reference to reorganizing was not idle chatter. Indeed, on January 7, Nichols had a

conversation on Facebook where he discussed “recruiting more patriots today” and stating that he

“did get frustrated last night, but I’ll never give up.” He then went on to say, in an apparent reference

to the upcoming inauguration, that “[i]t’s time to get better organized and regroup for the 20th.”

Nichols continued, referring to his belief that the election was stolen: “Everyone deserves to stand

trial. If found guilty, then death. Because the crime is treason. Not theft.” In the same conversation,

Nichols acknowledged he was aware that he had been “reported to FBI”. The other user responded

that he could not “find anywhere we’ve stepped outside the law.” Nichols responded, “Even entering

the Capitol?” “And clashing with police as they sprayed and beat us?” Nichols then opined, “I think

what happened NEEDED to be done. If not then, then never. I did what I felt God told me to do.

What was laid upon my heart. To go defend this nation and it’s (sic) integrity.”

                                Nichols’ Conduct After January 6

       As evidenced by Nichols’ Facebook comments, he was aware that the FBI was likely

looking for him. Nevertheless, Nichols deleted some of his Facebook posts and messages. He also

deleted all the text messages between himself and his co-defendant from his phone and twice

directed Harkrider to do the same. Nichols texted Harkrider on January 8, 2021, “Delete it all,

including our text conversation together. Also delete them from your phone as well.” The next

day, on January 9, 2021, he directed Harkrider to “Watch the video and then delete what you have.”

       When Nichols’ phone was searched, it was missing all text messages between himself and

his wife, his father, and other threads (some of which remained on and were later recovered from

Harkrider’s phone). Nichols further destroyed or secreted other evidence from January 6, 2021,

including the tactical vest he wore that day, his hat, the ballistic armor plate he wore, the yellow


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gloves, the walkie-talkie he carried, and the crowbar, none of which were located during a search

of his residence.

III.   THE CHARGES AND PLEA AGREEMENT

       Nichols was first charged by complaint on January 17, 2021. On November 10, 2021, a

federal grand jury returned a superseding indictment charging Nichols with eight counts,

including, (1) civil disorder in violation of 18 U.S.C § 231(a)(3); (2) obstruction of an official

proceeding, in violation of 18 U.S.C. § 1512(c)(2), and 2; (3) assaulting a law enforcement officer

with a deadly or dangerous weapon (OC spray), in violation of 18 U.S.C. § 111(a)(1) and (b); (4)

entering a restricted building or grounds while using and carrying a deadly and dangerous weapon

(crowbar and OC spray) in violation of 18 U.S.C. § 1752(a)(1) and (b)(1)(A); (5) engaging in

disorderly and disruptive conduct on restricted ground while using and carrying an deadly and

dangerous weapon (crowbar and OC spray), in violation of 18 U.S.C. § 1752(a)(2) and (b)(1)(A);

(6) disorderly and disruptive conduct in the Capitol in violation of 40 U.S.C. § 5104(e)(2)(D)); (7)

engaging in an act of physical violence on Capitol Grounds, in violation of 40 U.S.C.

§ 5104(e)(2)(F); and (8) parading, picketing, and demonstrating in the Capitol in violation of 40

U.S.C. § 5104(e)(2)(G). Superseding Indictment, ECF No. 59.

       On November 7, 2023, Nichols was charged by information with one count of Obstruction

of an Official Proceeding and Aiding and Abetting, in violation of 18 U.S.C. § 1512(c)(2) and 2,

and one count of Assaulting, Resisting or Impeding Certain Officers, in violation of 18 U.S.C.

§ 111(a)(1), see ECF 262, and was convicted of both counts based on a guilty plea entered pursuant

to a plea agreement.




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IV.       STATUTORY PENALTIES

          Nichols now faces sentencing on one count of Obstruction of an Official Proceeding and

Aiding and Abetting, in violation of 18 U.S.C. § 1512(c)(2) and 2, and one count of Assaulting,

Resisting or Impeding Certain Officers, in violation of 18 U.S.C. § 111(a)(1).

          As noted by the plea agreement and the Presentence Report (“PSR”) issued by the U.S.

Probation Office, Nichols faces up to 20 years of imprisonment for Obstruction of an Official

Proceeding and Aiding and Abetting and eight years of imprisonment for Assaulting, Resisting or

Impeding Certain Officers. See PSR at ¶¶111-112. For both offenses, Nichols faces up a term of

supervised release of not more than three years and restitution, and for each offense a fine up to

$250,000, and a mandatory special assessment of $100. Id. at ¶¶118-119, 133-134, 137.

V.        THE SENTENCING GUIDELINES AND GUIDELINES ANALYSIS

          As the Supreme Court has instructed, the Court “should begin all sentencing proceedings

by correctly calculating the applicable Guidelines range.” United States v. Gall, 552 U.S. 38, 49

(2007).

          A.     Guidelines Calculation

          The U.S. Probation Office calculated the defendant’s criminal history as category I, which

is not disputed. PSR ¶¶ 69-70. A draft PSR originally calculated Nichols’ total offense level, after

acceptance of responsibility, as 28, resulting in a Guidelines imprisonment range of 78 to 97

months’ imprisonment. Draft PSR at ¶¶ 67 & 113. The defendant’s plea agreement contains an

agreed-upon Guidelines range calculation that mirrors the calculation in the first PSR. ECF 297

(“Plea Agreement”), ¶ 4(A).

          However, between the filing of the Draft PSR, the PSR, and this sentencing memo, the

D.C. Circuit decided United States v. Brock, No. 23-3045, 2024 WL 875795 (D.C. Cir. Mar. 1,

2024). Brock held that the term “administration of justice,” as used in U.S.S.G. § 2J1.2, does not


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apply to Congress’ certification of electoral college votes. See id. at *8. Accordingly, the

enhancement in U.S.S.G. § 2J1.2(b)(2), which requires a three-level enhancement “[i]f the offense

resulted in substantial interference with the administration of justice” does not apply where a

defendant interfered solely with the certification of electoral college votes. U.S.S.G. § 2J1.2(b)(2);

Brock, 2024 WL 875795, at *15. This holding also precludes application of the eight-level

enhancement in U.S.S.G. § 2J1.2(b)(1)(B), which applies if an offense “involved causing or

threatening to cause physical injury to a person, or property damage, in order to obstruct the

administration of justice,” to defendants who interfered solely with Congress’ certification of

electoral college votes. Because the Draft PSR applied both enhancements in calculating Nichols’

total offense level of 28, that calculation is no longer accurate. 3

        The U.S. Probation Office’s updated PSR, received April 25, 2024, instead calculates the

defendant’s total adjusted offense level at 21, after a three-level decrease for acceptance of

responsibility. PSR at ¶¶56-67. Accordingly, the PSR calculates the Guidelines imprisonment

range as 37-46 months’ imprisonment. However, in addition to removing the two enhancements

from Count One that would no longer be applicable post-Brock (U.S.S.G. § 2J1.2(b)(2) and

§ 2J1.2(b)(1)(B)), the PSR incorrectly fails to include two enhancements agreed-upon in the Plea



3
  The Government addresses the accuracy of the PSR’s Guidelines calculations in light of Brock
because the PSR’s updated calculations differ from the Estimated Guidelines Range calculated in
the Plea Agreement and the “parties also reserve[d] the right to address the correctness of any
Sentencing Guidelines calculations determined by the presentence report writer or the court, even
if those calculations differ from the Estimated Guidelines Range calculated” in the Plea
Agreement. PSR at ¶6. The Government anticipates that the Court will have inquiries about post-
Brock Guidelines calculations for 18 U.S.C. § 1512(c)(2) convictions, as it had in at least one post-
Brock sentencing, United States v. Erik Scott Warner, Felipe Antonio “Tony” Martinez, Derek
Kinnison, and Ronald Mele, 21-cr-392, and “[i]n the event that the Court or the presentence report
writer considers any Sentencing Guidelines adjustments, departures, or calculations different from
those agreed to and/or estimated in [the Plea] Agreement… the parties reserve the right to answer
any related inquiries from the Court or the presentence report writer” PSR at ¶6.



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Agreement, which are applicable to Nichol’s conduct. The accurate post-Brock calculations would

be as follows (enhancements left out of the PSR in green highlight): 4

Count One – 18 U.S.C. §§ 1512(c)(2) and 2
USSG §2J1.2(a)             Base Offense Level                                      14
USSG §3A1.2(c)  5
                           Official Victim (Substantial risk of
                           serious bodily injury)                                  +6
                                                  Count 1 Subtotal                 20
Count Two – 18 U.S.C. § 111(a)(1)
USSG §2A2.2(a):            Base Offense Level                                      14
USSG §2A2.2(b)(2)(B):      Dangerous Weapon Used                                   +4
USSG §2A2.2(b)(3)(A):      Bodily Injury                                           +3
                     6
USSG §3A1.2(a) & (b) :     Victim Was Government Officer                           +6
                                                  Count 2 Subtotal                 27
Multiple Counts
USSG §3D1.2(c)             Counts 1 and 2 Group
USSG §3D1.3(a)             (Highest Offense Level)                                 27
                                                  Combined Offense Level           27



4
  As discussed above, these guidelines calculations only address the removal of the 2J1.2
sentencing enhancements no longer available for the 18 U.S.C. § 1512(c)(2) counts in Capitol
Siege post-Brock (U.S.S.G. § 2J1.2(b)(2) and § 2J1.2(b)(1)(B)). These calculations do not address
other enhancements that may be applicable here but were not included in the Plea Agreement, such
as the U.S.S.G. §2J1.2(b)(3) enhancement for destruction of a substantial number of records or
especially probation records or U.S.S.G. § 3C1.1 obstruction of justice (for Nichols’ destruction
of phone evidence); or the U.S.S.G. §2J1.2(b)(3) enhancement for extensive in
planning/preparation (for Nichols’ acquisition and use of tactical gear, body armor, and a crowbar,
and coordinating with Harkrider).
5
  The PSR acknowledged that Nichols’ attack of MPD Officer I.D. and other officers at the Lower
West Tunnel, in which Nichols sprayed OC spray over their riot shields twice while the officers
were being assaulted by a crowd of rioters, created a substantial risk of serious bodily injury;
however, the PSR only applied § 3A1.2(c) to Count Two and not Count One. See PSR ¶ 62c. This
Court similarly applied U.S.S.G. § 3A1.2(c) to the defendant’s obstruction of an official
proceeding charge in Worrell. See United States v. Worrell, 21-cr-292, ECF 304 (Sentencing Tr.)
at pp. 12-13. In Worrell, defendant Worrell moved to the front of a crowd facing a line of law
enforcement officers on the Lower West Plaza and sprayed pepper gel directly at the group of
officers. ECF 281 (Worrell Sentencing memo) at pp. 7-8.
6
  Although the PSR did add +6 to Count Two for an official victim adjustment under § 3A1.2, it
did so under U.S.S.G. § 3A1.2(c). In the Plea agreement, the +6 was added pursuant to U.S.S.G.
§ 3A1.2(a) and (b), which is more appropriate here since the victim of the 111(a) was an officer
and the offense Guideline ultimately used for Count Two is in Chapter 2, Part A (§ 2A2.2). See
U.S.S.G. § 3A1.2(a) and (b).



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Additional Adjustments
USSG §3E1.1(a)                Acceptance of Responsibility                          -2
USSG §3E1.1(b)                Acceptance of Responsibility (Timely)                 -1
USSG §4C1.1 7                 Zero-Point Offender                                    0
                                                   Combined Offense Level           24

       Accordingly, based on an Offense Level of 24 and a Criminal History Category of I, the

post-Brock Guidelines imprisonment range would be, 51-63 months’ imprisonment. In sum, (1)

the original Plea Agreement Guideline range (pre-Brock) is 78-97 months; (2) the PSR incorrectly

calculates the post-Brock Guideline range as 37-46 months; and (3) the post-Brock plea agreement

range (the plea agreement calculations minus only the two Brock- affected enhancements) as

calculated by the government is 51-63 months’ imprisonment.

       B.      Upward Variance

       After determining the defendant’s Guidelines range, a court then considers any departures

or variances. See U.S.S.G. § 1B1.1(a)-(c). 8 Following Brock, the enhancements under U.S.S.G.

§§ 2J1.2(b)(1)(B) and (b)(2) no longer apply. But that decision does not undercut the severity of

Nichols’ crime—assaulting officers defending the Capitol in his attempt to stop Congress from


7
  Recent amendments to the Sentencing Guidelines include a new guideline, U.S.S.G. § 4C1.1,
which provides for a two-level decrease in the offense level for offenders who have no criminal
history points and who meet certain additional criteria. Section 4C1.1 does not apply in this case
for several reasons: Nichols received a criminal history point for his prior assault conviction (see
PSR § 69; U.S.S.G. § 4C1.1(a)(1)); Nichols “use[d] violence or credible threats of violence in
connection with the offense” (U.S.S.G. § 4C1.1(a)(3)); and the crowbar Nichols carried was a
dangerous weapon possessed in connection with the offense (U.S.S.G. § 4C1.1(a)(7)).
8
   The Government does not seek an upward departure in the instant case. Although the
Government generally reserved the ability to request an upward departure for a federal crime of
terrorism, pursuant to U.S.S.G. § 3Al.4, n. 4, such a departure is not being sought in the instant
case. See Plea Agreement, ¶ 4(C). Otherwise, as per the Plea Agreement, “[t]he parties agree that,
solely for the purposes of calculating the applicable range under the Sentencing Guidelines, neither
a downward nor upward departure from the Estimated Guidelines Range set forth above is
warranted.” Id. However, the parties reserve the right to answer any inquiries from the Court or
PSR writer regarding departures considered by the Court of PSR writer “and to allocute for a
sentence within the Guidelines range, as ultimately determined by the Court.” Id.at ¶ 6.



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certifying the election. See Brock, 2024 WL 875795, at *15 (“interference with one stage of the

electoral college vote-counting process . . . no doubt endanger[ed] our democratic processes and

temporarily derail[ed] Congress’s constitutional work”). In order to impose a just and fair sentence

in this case, the Court should vary upwards to sentence Nichols to 83 months’ imprisonment,

within the Guidelines range of 78-97 months originally contemplated in the Plea Agreement. See

Plea Agreement, ¶ 4(C).

       An upward variance is warranted to achieve an appropriate sentence under the § 3553(a)

sentencing factors. 9 An upward variance is appropriate when “the defendant’s conduct was more

harmful or egregious than the typical case represented by the relevant Sentencing Guidelines

range.” United States v. Murray, 897 F.3d 298, 308–09 (D.C. Cir. 2018) (internal citation omitted).

Here, an upward variance is warranted to account for the unique nature and circumstances of the

offense and to reflect the seriousness of the offense. Nichols’ obstruction of an official proceeding

on January 6 was a serious offense that attacked the fundamentals of American democracy using

violence. Nichols’ stated purpose for going to the Capitol was to stop the certification of Electoral

College vote. To accomplish this objective, he broadcast—repeatedly and voraciously—his

willingness to engage in violence and took steps to prepare for violence: he researched weapons

restrictions in Washington; he built a carrier for firearms; he brought firearms with him to the

greater Washington area; and he wore body armor in the form of a carrier with a ballistic plate

along with other tactical gear, yellow-leather gloves, and steel-toed boots to the Capitol, as well as

carried a walkie-talkie and a crowbar. The night before January 6, he told MPD police officers on



9
  The Plea Agreement authorizes the parties to seek variances. See Plea Agreement, ¶ 5 (“the
parties agree that either party may seek a variance and suggest that the Court consider a sentence
outside of the applicable Guidelines Range, based upon the factors to be considered in imposing a
sentence pursuant to 18 U.S.C. § 3553(a)”).



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camera that they could not stop what was coming and promised to bring violence to them the

following day. On the way to the Capitol, he gave a speech in which he bayed for the blood of

elected officials, including the sitting Vice President of the United States. At the Capitol, he

breached the secure perimeter and—making good on his promise from the night before—then

engaged in violence to accomplish his objective by—joining a push against officers and then

escalating to spraying officers directly with OC spray while they were already battling with other

rioters at the Lower West Tunnel. After breaching the Capitol by crawling through a smashed

window, he gave another violent speech on the sill of that window in which he ordered the crowd

on the Lower West Terrace to get their weapons to prepare for armed resistance against police and

military forces who were coming to assist the overwhelmed MPD and USCP officers. And upon

leaving Capitol grounds, he gave yet a fourth speech in which he called for violence, sustained

terroristic resistance against the democratically elected government of the United States, and

offered to be a leader of the terrorist movement that he was using his Facebook account to foment.

Ryan Nichols came to Washington with a singular objective: to obstruct the lawful functions of

the United States government. In furtherance of that objective: he was willing, ready, and—most

importantly—able to engage in violence, whether with a crowbar, stolen chemical irritants, or

firearms. Ryan Nichols offered to lead the mob in armed resistance against the democratically

elected government of our Republic and, on the Lower West Terrace on January 6, 2021, he made

good on that offer. In both word and deed, Ryan Nichols conduct was far more harmful or

egregious than the typical case represented by the Sentencing Guidelines range as calculated by

Probation or as possibly calculated by the Court post-Brock.




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       The only reason that Nichols is not subject to the relevant enhancements in § 2J1.2 is

because the Sentencing Commission did not imagine that a day like January 6 could occur. As

Judge McFadden stated in a pre-Brock sentencing hearing:

   Regardless of whether the ‘administration of justice’ language actually applies to this situation,
   I have no doubt that the Commission would have intended for this to apply to substantial
   interference with an official proceeding like a certification process, which is itself more
   significant than almost any court proceeding… [Y]ou and your fellow rioters were responsible
   for substantially interfering with the certification, causing a multiple hour delay, numerous law
   enforcement injuries and the expenditure of extensive resources.

United States v. Hale-Cusanelli, 21-cr-37 (TNM), Sent’g Tr. 9/22/22 at 86-87 (emphasis added).

       In the specific facts and circumstances of Nichols’ case, an upward variance is appropriate

up to the top of the Guidelines range if U.S.S.G. §§ 2J1.2(b)(1)(B) and (b)(2) had applied. See

United States v. Reffitt, 21-cr-87 (DLF), Mem. Op. and Order 4/10/24 at 10-11 (upward variance

would be justified because “as other judges in this district have noted, the proceedings at issue on

January 6, 2021 were of much greater significance than run-of-the-mill ‘judicial, quasi-judicial,

and adjunct investigative proceedings’”); United States v. Fonticoba, 21-cr-368 (TJK), Sent’g Tr.

1/11/24 at 66–67 (stating that, even if the defendant’s § 1512 conviction were invalidated, a

significant upward variance was warranted to account for the defendant’s intent “to obstruct the

proceeding and the nature of the proceeding itself”); Fonticoba, 4/11/2024 Mem. Order at 4-5

(denying motion for release pending appeal and agreeing that certification proceeding was “far

more important” than “any run-of-the-mill” judicial or quasi-judicial proceeding). Accordingly,

the government requests that the Court vary upwards and sentence Nichols to 83 months’

imprisonment, in order to give effect to “the concerns underlying the Government’s requests for

these enhancements under the § 3553(a) factors at sentencing.” See United States v. Seefried, 639

F. Supp. 3d 8, 20 (D.D.C. 2022).




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VI.    SENTENCING FACTORS UNDER 18 U.S.C. § 3553(A)

       In this case, sentencing is guided by 18 U.S.C. § 3553(a). As described below, on balance,

the Section 3553(a) factors weigh in favor of a lengthy term of incarceration.

       A.      Nature and Circumstances of the Offense

       As shown in Section II(B) of this memorandum, Nichols’ felonious conduct on January 6,

2021, was part of a massive riot that almost succeeded in preventing the certification vote from

being carried out, frustrating the peaceful transition of Presidential power, and throwing the United

States into a Constitutional crisis. Nichols planned and prepared for a “warzone” and “actual

battle,” and repeatedly described January 6 as a “revolution” and asserted himself as a leader in

the fight. On January 6, he spewed vitriol and called for blood as he advanced down Constitution

Avenue towards the Capitol, outfitted with body armor and a crowbar, shouting that “if Pence

caved, we’re gonna drag motherfuckers through the streets.” Nichols arrived at the Lower West

Terrace doors and pushed against officers in the tunnel in synchronized movements with other

rioters. He called for the crowd to push forward, beckoned for a canister of chemical irritant that

had been stolen from police, and then sprayed officers—twice and in a way that was designed to

maximize the effectiveness of the spray. He entered the Capitol through a broken window, stood

on a window ledge, and with his crowbar in one hand and bullhorn in the other, shouted at rioters

“Get in the building, this is your country, get in the building, we will not be told, ‘No,’” and “If

you have a weapon, you need to get your weapon!,” among other lawless and violent cries. After

the riot, he boasted about his actions in a video he posted to Facebook “calling for violence” and

exclaiming, “If you’re looking for guidance in this second American revolution, I will be your

leader!” Nichols subsequently destroyed physical evidence by burning the clothes he wore to the

Capitol, deleting evidence from his phone and Facebook accounts, and telling his co-defendant to




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delete incriminating messages. The nature and circumstances of Nichols’ offenses were of the

utmost seriousness, and fully support the government’s recommended sentence of 83 months.

       B.      Nichols’ History and Characteristics

       As set forth in the PSR, Nichols, a 33-year-old man, served in the United States Marine

Corps from 2010 to 2014 and volunteered in disaster search and rescue operations. PSR ¶¶ 100-

101. Nichols’ military and community service is laudable, and the government has considered that

when fashioning its recommendation to the Court. At the same time, as a former service member,

and as evidenced by his ferocious exclamations, he knew that his decision to storm a guarded

federal government building was unlawful. Yet, with the knowledge that police who were

attempting to stop the riot were vastly outnumbered and unable to prevent the breach, created a

grave risk of personal injury, property damage, and worse; he then stormed the West Front of the

Capitol, pushed against officers, sprayed them with chemical spray, and exhorted the crowd to

violent action. As a Marine, Ryan Nichols swore an oath to “support and defend the Constitution

of the United States against all enemies, foreign and domestic.” But, on January 6, he broke his

oath and became the domestic enemy against our constitutional order. His veteran status and relief

efforts are thus a “double-edged sword” that have aggravating as well as mitigating effects on the

sentencing calculus.

       Moreover, his crimes on January 6 were not an isolated event in an otherwise law-abiding

life. Nichols’ criminal history includes recent, violent incidents both before and after his violent

behavior on January 6. In 2019, he pleaded guilty to assault causing bodily injury in Harrison

County Court and was sentenced to pretrial diversion. PSR ¶ 69. In 2022, while detained in this

case, he is alleged to have committed behavioral misconduct in the D.C. Jail. Nichols admitted




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that he lifted a chair and “pushed it forcefully” in the incident. ECF 168-4 at ¶¶ 58-63. 10 Further,

he has a history of illegal substance use, including evidence of use around the time of the offenses.

He exchanged messages with his co-defendant about procuring and using “acid” in preparation for

his trip to Washington, D.C.

       This history, including his prior conviction for assault causing bodily injury, demonstrates

a recent pattern of violence and of disregard for the law that is fully consistent with his behavior

on January 6 and weighs in favor of a lengthy term of incarceration.

       C.      The Need for the Sentence Imposed to Reflect the Seriousness of the Offense
               and Promote Respect for the Law

       As with the nature and circumstances of the offense, this factor supports a sentence of

incarceration. Nichols’ criminal conduct on January 6 was the epitome of disrespect for the law –

using violence in an attempt to stop the peaceful transfer of power that sits at the heart of our

American democracy.

       D.      The Need for the Sentence to Afford Adequate Deterrence

                                       General Deterrence

       A significant sentence is needed “to afford adequate deterrence to criminal conduct” by

others. 18 U.S.C.§ 3553(a)(2)(B). The need to deter others is especially strong in cases involving

domestic terrorism, which the breach of the Capitol certainly was. 11 The demands of general




10
   Nichols also appears to have violated the D.C. Jail’s policies and procedures regarding use of
social media and video-sharing. See https://www.washingtonpost.com/investigations/interactive/
2023/trump-j6-prison-choir/ (“The first instance that the Post could find of the video online was
in a March 1 tweet by a lawyer for Ryan Nichols, the defendant seen holding the camera in the
video.”); see also Exhibit L (March 1, 2023 tweet from Nichols’ counsel sharing video “[f]ilmed
by Ryan Nichols during his 22 month stint in pretrial detention”).
11
   See 18 U.S.C. § 2331(5) (defining “domestic terrorism”).



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deterrence weigh strongly in favor of incarceration, as they will for nearly every case arising out

of the violent riot at the Capitol.

                                        Specific Deterrence

        The need for the sentence to provide specific deterrence to Nichols also weighs heavily in

favor of a lengthy term of incarceration. Nichols’ actions leading up, on, and after January 6, all

demonstrate the need for specific deterrence. Nichols’ prior conviction for assault causing bodily

injury did not deter him in this case, and his misconduct at the D.C. Jail shows that he has not yet

been deterred from continuing to engage in violence and criminal conduct.

        In addition, although the defendant at the plea hearing accepted responsibility for his

conduct, his statements shortly after January 6 were those of a man girding for another battle. See

United States v. Matthew Mazzocco, 1:21-cr-00054 (TSC), Tr. 10/4/2021 at 29-30 (“[The

defendant’s] remorse didn’t come when he left that Capitol. It didn’t come when he went home. It

came when he realized he was in trouble. It came when he realized that large numbers of

Americans and people worldwide were horrified at what happened that day. It came when he

realized that he could go to jail for what he did. And that is when he felt remorse, and that is when

he took responsibility for his actions.”) (statement of Judge Chutkan). Despite everything he

experienced at the Capitol, that evening he wielded a crowbar and exclaimed in a livestream video

that he “st[ood] for violence” and would “make other people die.” In the following days, he also

chose to burn the clothes he was wearing at the Capitol, delete information from his phone, and

direct his co-defendant to similarly delete messages that he felt would be incriminating. Nichols’

pattern of behavior demonstrates that his sentence must be sufficient to provide specific deterrence

from committing future violent crimes, particularly in light of his disregard for the law and

willingness to use force to achieve political ends.




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       In addition, although Nichols “agreed with the conduct described in the Statement of

Offense” in his presentence interview, PSR ¶ 50, in a post circulated after the plea hearing,

members of Nichols’ defense team refers to him as a “political prisoner.” Exhibit J (Substack blog

post authored by defense team law clerk present at counsel table for the plea hearing titled “Ryan

Nichols: Political Prisoner Of His Own Country”); see also Exhibit K (GiveSendGo page titled

“Free My Patriot Prisoner” with messages attributed to Nichols, his wife, and his father prior to

the defendant’s plea). Even prior to Nichols entering his plea, his attorney was tweeting statements

that directly contradicted the statement of offense in this case. See Exhibit M (October 30, 2023,

twitter post from Nichols’ lead counsel). 12 These statements threaten “public trust in the rule of

law and the criminal justice system [, which] is paramount in the context of January 6 cases.”

United States v. Nester, 22-cr-183 (TSC), ECF No. 113 at 6 (internal citation omitted). While the

government does not attribute counsel’s statements to the defendant himself (nor does it base its

recommendation on such bombastic rhetoric), this Court must appropriately assess whether the

defendant has independently accepted responsibility for his criminal conduct. Pleading guilty is

not simply the same as accepting the consequences and showcasing remorse under these trying

and unique circumstances.

       E.      The Importance of the Guidelines

       “The Guidelines as written reflect the fact that the Sentencing Commission examined tens

of thousands of sentences and worked with the help of many others in the law enforcement



12
   The government also notes that, in the months leading up to his plea, Nichols was claiming in
public court filings that, in effect, “shadowy teams of plainclothes government agents orchestrated
the attack [on the Capitol], leaving a far larger number of innocent Americans to take the fall.”
ECF 266 (Order Denying Defendant’s Motion for Disclosure) at 13; see also ECF 244 (Motion
for Disclosure), 245 (Supp. Motion for Disclosure), and ECF 251 (Reply to Government’s
Opposition to Motion for Disclosure)



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community over a long period of time in an effort to fulfill [its] statutory mandate.” Rita v. United

States, 551 U.S. 338, 349 (2007). As required by Congress, the Commission has “‘modif[ied] and

adjust[ed] past practice in the interests of greater rationality, avoiding inconsistency, complying

with congressional instructions, and the like.’” Kimbrough v. United States, 552 U.S. 85, 96 (2007)

(quoting Rita, 551 U.S. at 349); 28 U.S.C. § 994(m). In so doing, the Commission “has the capacity

courts lack to base its determinations on empirical data and national experience, guided by

professional staff with appropriate expertise,” and “to formulate and constantly refine national

sentencing standards.” Kimbrough, 552 U.S. at 108 (cleaned up). Accordingly, courts must give

“respectful consideration to the Guidelines.” Id. at 101.

       F.      Unwarranted Sentencing Disparities

       Section 3553(a)(6) of Title 18 directs a sentencing court to “consider … the need to avoid

unwarranted sentence disparities among defendants with similar records who have been found

guilty of similar conduct.” So long as the sentencing court “correctly calculate[s] and carefully

review[s] the Guidelines range, [it] necessarily [gives] significant weight and consideration to the

need to avoid unwarranted disparities” because “avoidance of unwarranted disparities was clearly

considered by the Sentencing Commission when setting the Guidelines ranges.” Gall v. United

States, 552 U.S. 38, 54 (2007).

       Moreover, Section 3553(a)(6) does not limit the sentencing court’s broad discretion “to

impose a sentence sufficient, but not greater than necessary, to comply with the purposes” of

sentencing. 18 U.S.C. § 3553(a). After all, the goal of minimizing unwarranted sentencing

disparities in Section 3553(a)(6) is “only one of several factors that must be weighted and

balanced,” and the degree of weight is “firmly committed to the discretion of the sentencing

judge.” United States v. Coppola, 671 F.3d 220, 254 (2d Cir. 2012). The “open-ended” nature of

the Section 3553(a) factors means that “different district courts may have distinct sentencing


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philosophies and may emphasize and weigh the individual § 3553(a) factors differently; and every

sentencing decision involves its own set of facts and circumstances regarding the offense and the

offender.” United States v. Gardellini, 545 F.3d 1089, 1093 (D.C. Cir. 2008). “[D]ifferent district

courts can and will sentence differently—differently from the Sentencing Guidelines range,

differently from the sentence an appellate court might have imposed, and differently from how

other district courts might have sentenced that defendant.” Id. at 1095. “As the qualifier

‘unwarranted’ reflects, this provision leaves plenty of room for differences in sentences when

warranted under the circumstances.” United States v. Brown, 732 F.3d 781, 788 (7th Cir. 2013).13

       Although all the other defendants discussed below participated in the Capitol breach on

January 6, 2021, many salient differences explain the differing recommendations and sentences.

While no previously sentenced case contains the same balance of aggravating and mitigating

factors present here, the government has selected cases that it believes to be suitable comparisons

to the relevant sentencing considerations in this case. Nichols’ case has many factors that

distinguish it from other Capitol riot cases: the bloodthirsty nature of his rhetoric, the preparations

for violence by making sure he had access to firearms in Washington and wearing a plate carrier,

the scale and persistence of his assaults on and resistance against police officers on the Lower

West Terrace, and his calls for sustained revolt after the attack on the Capitol—each taken

independently—set Nichols apart from the vast majority of Capitol riot cases. When taken

together, though, they place him into a class of his own. Although Nichols extreme conduct




13
   If anything, the Guidelines ranges in Capitol siege cases are more likely to understate than
overstate the severity of the offense conduct. See United States v. Knutson, D.D.C. 22-cr-31 (FYP),
Aug. 26, 2022 Sent. Hrg. Tr. at 24-25 (“If anything, the guideline range underrepresents the
seriousness of [the defendant’s] conduct because it does not consider the context of the mob
violence that took place on January 6th of 2021.”) (statement of Judge Pan).



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distinguished him from most defendants who have been sentenced in connection with January 6,

the following cases are instructive as comparators.

       In United States v. Daniel Lyons Scott, 21-cr-292 (RCL), the defendant received a sentence

of 60 months’ imprisonment after pleading guilty to the same charges as Nichols (18 U.S.C.

§ 1512(c)(2) and § 111(a)(1)). Much like Nichols, Scott planned and prepared for violence

(wearing a bulletproof vest and goggles); encouraged rioters to “take the fucking Capitol”; incited

and encouraged rioters throughout the day, including rioters battling officers in the Lower West

tunnel, and at some point yelled at rioters through a bullhorn; found himself at the front of a mob

directly across from officers; witnessed violence by other rioters against officers; personally

engaged in violence against officers (Scott tackled two officers); and celebrated and boasted about

his crimes the evening of January 6. Distinct from Nichols, Scott’s violence helped facilitate the

breach of the Senate Wing Door and Scott acted in concert with his fellow Proud Boys. See Scott,

21-cr-292, ECF 255. However, in the instant case, Nichols also used a dangerous weapon (OC

spray) against officers; entered the Capitol Building (by climbing through a broken window);

consistently used very violent rhetoric; destroyed evidence in multiple ways (burning clothes and

deleting data); and told his co-defendant to delete messages. Accordingly, a longer sentence of 83

months’ imprisonment would properly account for all of Nichols’ additional bad behavior.

       In United States v. Duke Wilson, 21-cr-345 (RCL), the defendant similarly pled guilty to

the same charges as Nichols (18 U.S.C. § 1512(c)(2) and § 111(a)(1)). Much like Nichols, Wilson

engaged in violence at the Lower West Terrace (including Wilson punching officers, attempting

to take their shields, and throwing objects at them). See Wilson, 21-cr-345, ECF 29. Distinct from

Nichols, however, Wilson was 68 years old, and had “been an upstanding citizen all [his] life.”

Mar. 18, 2022 Sent. Tr., ECF No. 38, at 35. Wilson also did not use a dangerous weapon against




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officers; did not enter the Capitol Building; did not use consistently violent rhetoric; did not destroy

physical evidence or data; and did not tell his co-defendant to delete messages, unlike Nichols.

Wilson received a sentence of 51 months, at the top of his Guidelines range. Accordingly, a longer

sentence of 83 months’ imprisonment would properly account for all of Nichols’ additional

criminal behavior.

        In United States v. Sean McHugh, 21-cr-453 (JDB), the defendant pled guilty to 18 U.S.C.

§ 1512(c)(2) and § 111(a)(1) and (b). Much like Nichols, McHugh prepared for violence

beforehand (telling people he was going to Washington, D.C. to “fight” and “storm Congress” and

bringing a cannister of bear spray); engaged in violence on the West side of the Capitol, including

joining a push against officers (McHugh helped other rioters to push a large metal sign into

officers) and using chemical irritant against officers; at some point used a megaphone to incite and

encourage rioters; and after the riot bragged about his participation on social media. See McHugh,

21-cr-453, ECF 113. Distinct from Nichols, McHugh also wrestled with an officer for control of a

barricade. Judge Bates sentenced McHugh to 78 months’ imprisonment. However, McHugh did

not enter the Capitol Building; did not consistently use extremely violent rhetoric; and did not

destroy physical evidence or data or instruct a co-defendant to do so. Accordingly, a modestly

longer sentence of 83 months’ imprisonment would properly account for all of Nichols’ additional

bad behavior.

VII.    RESTITUTION

        The Victim and Witness Protection Act of 1982 (“VWPA”), Pub. L. No. 97-291 § 3579,

96 Stat. 1248 (now codified at 18 U.S.C. § 3663), “provides federal courts with discretionary

authority to order restitution to victims of most federal crimes.” United States v. Papagno, 639

F.3d 1093, 1096 (D.C. Cir. 2011); see 18 U.S.C. § 3663(a)(1)(A) (Title 18 offenses subject to




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restitution under the VWPA). 14 Generally, restitution under the VWPA must “be tied to the loss

caused by the offense of conviction,” Hughey v. United States, 495 U.S. 411, 418 (1990); identify

a specific victim who is “directly and proximately harmed as a result of” the offense of conviction,

18 U.S.C. § 3663(a)(2); and is applied to costs such as the expenses associated with recovering

from bodily injury, 18 U.S.C. § 3663(b). At the same time, the VWPA also authorizes a court to

impose restitution “in any criminal case to the extent agreed to by the parties in a plea agreement.”

See 18 U.S.C. § 3663(a)(3). United States v. Anderson, 545 F.3d 1072, 1078-79 (D.C. Cir. 2008).

       Those principles have straightforward application here. The victim in this case, Officer

I.D., suffered bodily injury when he was hit by Nichols’ OC spray. However, Officer I.D. did not

seek medical attention for his injuries and is not seeking restitution from Nichols. The parties

agreed, as permitted under 18 U.S.C. § 3663(a)(3), that Nichols must pay $2,000 in restitution,

which reflects in part the role Nichols played in the riot on January 6. 15 Plea Agreement at ¶ 11.

As the plea agreement reflects, the riot at the United States Capitol had caused “approximately

$2,923,080.05” in damages, a figure based on loss estimates supplied by the Architect of the

Capitol and other governmental agencies as of July 2023. Id. (As noted above in footnote 1, the

amount of damages has since been updated by the Architect of the Capitol, USCP, and MPD.)




14
   The Mandatory Victims Restitution Act, Pub. L. No. 104-132 § 204, 110 Stat. 1214 (codified
at 18 U.S.C. § 3663A), “requires restitution in certain federal cases involving a subset of the crimes
covered” in the VWPA, Papagno, 639 F.3d at 1096, including crimes of violence, “an offense
against property … including any offense committed by fraud or deceit,” “in which an identifiable
victim or victims has suffered a physical injury or pecuniary loss.” 18 U.S.C. § 3663A(c)(1).
15
   Unlike under the Sentencing Guidelines for which (as noted above) the government does not
qualify as a victim, see U.S.S.G. § 3A1.2 cmt. n.1, the government or a governmental entity can
be a “victim” for purposes of the VWPA. See United States v. Emor, 850 F. Supp.2d 176, 204 n.9
(D.D.C. 2012) (citations omitted).



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Nichols’ restitution payment must be made to the Clerk of the Court, who will forward the payment

to the Architect of the Capitol and other victim entities. See PSR ¶ 137.

VIII. FINES

       The defendant’s convictions for violations of 18 U.S.C. §§ 1512(c)(2) and (2) and 18

U.S.C. § 111(a)(1) subject him to a statutory maximum fine of $250,000 for Count 1 and $250,000

for Count 2.. See 18 U.S.C. § 3571(b). In determining whether to impose a fine, the sentencing

court should consider the defendant’s income, earning capacity, and financial resources. See 18

U.S.C. § 3572(a)(1); See U.S.S.G. § 5E1.2(d). The sentencing guidelines provide for a fine in all

cases, except where the defendant establishes that he is unable to pay and is not likely to become

able to pay any fine. U.S.S.G. § 5E1.2(a), (e) (2023).

       The burden Is on the defendant to show present and prospective Inability to pay a fine. See

United States v. Gewin, 471 F.3d 197, 203 (D.C. Cir. 2006) (explaining that “it makes good sense

to burden a defendant who has apparently concealed assets” to prove that “he has no such assets

and thus cannot pay the fine”); United States v. Lombardo, 35 F.3d 526, 528 (11th Cir. 1994). “In

assessing a defendant’s income and earning capacity, the court properly considers whether a

defendant can or has sought to ‘capitalize’ on a crime that ‘intrigue[s]’ the ‘American public.’”

United States v. Seale, 20 F.3d 1279, 1284–86 (3d Cir. 1994).

       Here, the defendant has not shown an inability to pay. He has not submitted the Net Worth

Statement, Monthly Cash Flow Statement, and financial release forms to Probation. PSR ¶ 106.

He has conducted fundraising. See Exhibit K. He is featured in video of the so-called choir of

January 6 defendants, although it is unclear if the defendant has received any funds from his

participation because organizers stated the Choir’s “proceeds do not benefit families of people who

assaulted a police officer.” See https://www.billboard.com/music/chart-beat/donald-trump-j6-




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prison-choir-justice-for-all-digital-song-sales-chart-1235289593/.      Thus,   pursuant   to   the

considerations outlined in U.S.S.G. § 5E1.2(d), the Court has authority to impose a fine.

§ 5E1.2(a), (e). As set forth above, the corrected offense levels for Counts 1 and 2 are 20 and 27,

respectively. This results in a guidelines fine range here of $15,000 to $150,000 for Count 1 and

$25,000 to $250,000 for Count 2. U.S.S.G. § 5E1.2(c).

IX.    CONCLUSION

       For the reasons set forth above, the government recommends that the Court impose a

sentence of 83 months’ incarceration, a 3-year term of supervised release, restitution in the amount

of $2,000, a fine, and a special assessment of $100 for each of the two felony counts of conviction.

                                              Respectfully submitted,

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